                 UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF TEXAS
                      BEAUMONT DIVISION


UNITED STATES OF AMERICA
ex rel. BROOK JACKSON,

               Plaintiff,
                                   CASE NO. 1:21-CV-00008-MJT
        -v-
                                   ORAL ARGUMENT REQUESTED
VENTAVIA RESEARCH GROUP, LLC;
PFIZER INC.; ICON PLC,

               Defendants.




ICON PLC’S MOTION TO DISMISS RELATOR’S AMENDED COMPLAINT AND
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       Defendant ICON plc (“ICON”) respectfully moves, pursuant to the Federal Rules of Civil

Procedure 9(b) and 12(b)(6), to dismiss Counts I and II of the operative complaint (the

“Amended Complaint”), which Plaintiff-Relator Brook Jackson (“Relator”) filed on behalf of the

United States under 31 U.S.C. § 3730(b), the qui tam provision of the False Claims Act (“FCA”).

ICON joins and incorporates by reference Defendant Pfizer Inc.’s (“Pfizer”) Motion to Dismiss

Relator’s Amended Complaint and Memorandum of Law in Support [Dkt. No. 37] (“Pfizer’s

Motion”).

                                PRELIMINARY STATEMENT

       It is not at all clear why ICON is a defendant in this False Claims Act litigation. ICON

did not submit any claim for payment or otherwise seek or receive any payment from the United

States related to vaccine trials. Nor did ICON employ Relator. Instead, the Amended Complaint

and its exhibits show that in performing its role providing outsourced monitoring and related

services to Pfizer for the trials, ICON identified concerns and worked with the relevant teams to

address and ameliorate them as the study progressed.

       In this context, it comes as no surprise that Relator falls far short of pleading any viable

claim against ICON. Relator’s few allegations against ICON appear to be nothing more than an

afterthought and do not come close to stating a claim under the FCA. In fact, by Relator’s own

allegations, ICON was frequently kept in the dark and even lied to about the alleged misconduct

she claims (without any factual basis) that others supposedly engaged in. Nonetheless, and

because she clearly views the legal process as nothing more than an avenue to publicize her anti-

vaccination political views, Relator instead falls back on shameless and wild speculation,

claiming that her experience at two trial sites in Texas for less than three weeks brings the entire




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Pfizer BioNTech worldwide vaccine clinical trial into question. These allegations are archetypal

examples of those that a court must straight away reject for multiple reasons.

        First, Relator’s allegations fail to meet the heightened pleading standards of Federal Rule

of Civil Procedure 9(b) that all FCA claims must satisfy. The few allegations against ICON are

generalized, conclusory, or speculative, and cannot state a claim with the particularity required

by Rule 9(b). Relator repeatedly and generically asserts that ICON missed “red flags” of trial

protocol violations and that errors would have been obvious from source documents, but fails to

state with particularity which red flags ICON allegedly missed, how the alleged violations were

supposedly obvious to ICON, the identity of the alleged source documents that would have

shown such alleged violations, or how and when ICON received or reviewed the alleged source

documents. Many of Relator’s allegations are plainly contradictory, as the Amended Complaint

is littered with contrary allegations that information was purposefully withheld from ICON and

even attaches as exhibits e-mails that show ICON was not ignoring issues with the trial but

actively identifying them to Ventavia Research Group, LLC (“Ventavia”) and working to resolve

them.

        Second, the Amended Complaint fails to adequately allege what the Fifth Circuit has

termed the sine qua non of an FCA claim: a claim requesting money or property from the United

States that is either factually or legally false. Relator does not identify any false claims made to

the government by any Defendant. The most Relator can come up with as to ICON is that it

certified and submitted a Statement of Investigator under FDA Form 1572. But government

payment was not conditioned on this form (which was not even required to be submitted), nor

does Relator sufficiently allege that the form was material to the government’s decision to make




                                                  2
a payment. For these reasons, both of Relator’s two FCA claims (Counts I and II) against ICON

must be dismissed.

          Finally, Relator fails to adequately allege another necessary element of an FCA claim:

that ICON knowingly submitted a false statement to the government. Not only does the

Amended Complaint not allege that ICON had actual knowledge of the alleged violations of trial

protocol, it alleges that this supposed falsity was actively hidden from ICON. Relator

alternatively makes conclusory assertions that ICON had constructive knowledge of these

allegations, but without the specificity of “who, what, when, where, and how” that is required to

avoid dismissal.

          For all of these reasons, as well as the reasons stated in Pfizer’s Motion, which ICON

joins and incorporates by reference herein, and as discussed more fully below, the Court should

dismiss Counts I and II of the Amended Complaint with prejudice. 1

                                     FACTUAL BACKGROUND 2

          ICON is an Irish-headquartered clinical research organization, providing consulting,

clinical development, and commercialization services to pharmaceutical, biotechnology, medical

device, and public health organizations as well as government agencies. ICON offers services at

all phases of clinical development and approval, functional outsourcing assistance, and

laboratory services including high value testing. 3

          At the onset of the COVID-19 pandemic, ICON was engaged by Pfizer to implement its

strategic plan and framework for the monitoring of the landmark study. ICON helped monitor


1
    Count III of the Complaint is against Defendant Ventavia only and does not involve ICON.
2
 ICON refers the Court to the Factual Background section of Pfizer’s Motion, see Pfizer’s Mot. at 5-18,
and states additional factual background relating to ICON specifically herein.
3
 For purposes of this Rule 12(b)(6) motion only, “ICON” refers to ICON plc and/or its relevant
subsidiaries. ICON reserves all rights and defenses with respect to the identity of the correct parties.

                                                      3
trials, recruit trial participants, organize clinical supply management services, and provide site

training, document management, and informed consent support. 4 The two Ventavia sites that

employed Relator were among the 153 sites that ICON worked with in the United States,

Europe, South Africa, and Latin America.

        It is unclear from the Amended Complaint to what extent (if any) Relator—who only

worked at Ventavia for less than three weeks (Am. Compl. ¶¶ 20, 263)—interacted with ICON

or ICON personnel. Relator attaches three exhibits to the Amended Complaint, however, that

show ICON personnel providing guidance to and asking questions of Ventavia personnel as part

of its oversight of the landmark study and its responsibility to ensure clinical trial protocol

compliance and required information reporting:

    •   On September 5, 2020, ICON personnel were told via e-mail by a Ventavia employee

        that a subject had returned a positive pregnancy test between receiving her first and

        second vaccinations. (Am. Compl. Ex. 12). The e-mail was forwarded internally to

        Relator.

    •   On August 14, 2020, an ICON employee e-mailed a Ventavia employee with a lengthy

        bulleted list of items, including inter alia informing Ventavia that various Ventavia

        personnel needed to review certain documents or complete certain trainings, noting that

        certain records were missing, and telling Ventavia to correct certain transcription errors.

        (Am. Compl. Ex. 16). The e-mail was forwarded internally to Relator.

    •   Between August 26 and September 21, 2020, ICON personnel sent Ventavia personnel

        (including Relator) a series of e-mails raising issues regarding missing documentation



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 “ICON Supports Pfizer and BioNTech on the investigational COVID-19 vaccine trial,” ICON, Jan 4,
2021, https://www.iconplc.com/news-events/press-releases/icon-pfizer-biontech/.

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        and suggesting revising documentation procedures to avoid these issues in the future.

        (Am. Compl. Ex. 19).

       The Amended Complaint describes events that Relator allegedly witnessed during her

less-than-three-week stint of employment at Ventavia in September 2020, during which time the

Pfizer landmark study was ongoing and Ventavia was under contract to conduct the study at

three sites in Texas. (Am. Compl. ¶¶ 49-50). While working at two of these sites, Relator

allegedly observed a range of compliance violations by Ventavia, including failures to properly

manage trial enrollment, documentation blinding, informed consent procedures, vaccinator

training, post-vaccine monitoring of subjects, reporting of adverse events, and other

documentation practices. (Am. Compl. ¶¶ 148-205).

       Despite these dramatic claims, however, Relator’s allegations as to ICON are sparse.

Relator asserts that ICON “turned a blind eye to Ventavia’s misconduct, despite numerous

warning signs,” failed to “follow up on missing information,” ignored “red flags” of protocol

violations and false data, and failed to “exclude ineligible participants from the trial data.” (Am.

Compl. ¶¶ 6, 9). Relator repeatedly claims that ICON had “constructive notice” of Ventavia’s

alleged misconduct, because it had access to information “hidden away” by Ventavia in “notes to

the file” or “source documents.” (Am. Compl. ¶¶ 8, 169, 191). Relator also alleges that ICON

failed to follow up on and report adverse event information and to secure Ventavia’s compliance

after learning of Ventavia’s alleged regulatory and protocol violations. (Am. Compl. ¶¶ 211,

213, 214-16).

       Relator also relies on the Statement of Investigator under Form FDA-1572, which ICON

submitted to Pfizer and in which ICON agreed to “(1) conduct the trial in accordance with the

protocol and FDA regulations; (2) obey informed consent and IRB [Institutional Review Board]



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reporting requirements; (3) report adverse events; (4) ensure that all ‘associates, colleagues, and

employees assisting in’ the trial were ‘informed about their obligations;’ and (5) make no

changes to the trial without IRB approval.” (Am. Compl. ¶ 277). Relator conclusorily asserts

that “[t]his acknowledgement and certification was rendered false by . . . ICON’s violations of

the clinical trial protocol, FDA regulations, and fraudulent conduct.” (Am. Compl. ¶ 277).

          In addition, and despite conceding that her experience with the Pfizer landmark study “is

limited to Texas” and spanned only a manner of weeks, Relator charges that “Pfizer and ICON’s

oversight failures and fraudulent misconduct vis-à-vis Ventavia bring the entire Pfizer-BioNTech

clinical trial into question.” (Am. Compl. ¶ 11). Relator also brazenly speculates, with no basis

for support whatsoever, that “[i]t is likely that similar fraud occurred at clinical trial sites

managed by other subcontractors of Pfizer.” (Am. Compl. ¶ 11).

                                          LEGAL STANDARD

          When deciding a motion to dismiss under Rule 12(b)(6), a court must accept as true all

factual allegations in the complaint but is “not bound to accept as true a legal conclusion couched

as a factual allegation.” Aschcroft v. Iqbal, 129 S. Ct. 1937, 1950 (2009). 5 The complaint must

contain enough specific factual allegations to show that if all of the alleged facts—and only the

alleged facts—are believed to be true, the plaintiff would have a claim for relief. See Iqbal, 129

S. Ct. at 1952. Indeed, the pleading must do more than “merely create[] a suspicion [of] a legally

cognizable right of action.” Bell Atlantic Corp. v. Twombly, 550 U.S. 555, 555-56 (2007). A

district court must “insist upon some specificity in pleading before allowing a potentially

massive factual controversy to proceed . . . into discovery when there is no reasonable




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    Unless noted otherwise, emphasis is added and internal citations and quotation marks omitted.

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likelihood that the plaintiffs can construct a claim from the events related in the complaint.”

Id. at 558.

       A complaint that fails to proffer “enough facts to state a claim to relief that is plausible

on its face” should be dismissed. See Twombly, 550 U.S. at 570. If the factual allegations are

so general that they “do not permit the court to infer more than a mere possibility of

misconduct,” then the plaintiff “[has] not nudged [its] claims across the line from conceivable

to plausible.” See Iqbal, 129 S. Ct. at 1951; Twombly, 550 U.S. at 570. Similarly, “a pleading

that offers ‘labels and conclusions’ or a ‘formulaic recitation of the elements of a cause of

action will not do.’” Iqbal, 129 S. Ct. at 1949. “Threadbare recitals of the elements of a

cause of action, supported by mere conclusory statements, do not suffice.” Id. at 1949 (citing

Twombly, 550 U.S. at 555). When ruling on a motion to dismiss under Rule 12(b)(6), a court

may consider public records, including publicly filed financial statements, pleadings from

other cases, “materials that do not contradict the complaint, or ‘materials that are necessarily

embraced by the pleadings.’” See Noble Systems Cora. v. Alorica Central, LLC, 543 F.3d

978, 982 (8th Cir. 2008); Henson v. CSC Credit Servs., 29 F.3d 280, 284 (7th Cir. 1994).

       In addition, because FCA claims are fraud actions, the heightened pleading requirements

of Rule 9(b) apply. United States ex rel. Thompson v. Columbia/HCA Healthcare Corp., 125

F.3d 889, 903 (5th Cir. 1997). Rule 9(b) provides that, “[i]n alleging fraud . . . a party must state

with particularity the circumstances constituting fraud or mistake. Malice, intent, knowledge,

and other conditions of a person’s mind may be alleged generally.” Fed. R. Civ. P. 9(b). The

circumstances that must be pled with particularity are “the time, place, and contents of the false

representation[], as well as the identity of the person making the misrepresentation and what that

person obtained thereby.” United States ex rel. Grubbs v. Kanneganti, 565 F.3d 180, 188 (5th



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Cir. 2009). “The particularity demanded by Rule 9(b) is supplemental to the Supreme Court’s . .

. interpretation of Rule 8(a) requiring ‘enough facts [taken as true] to state a claim to relief that is

plausible on its face.” Id. at 185. A plaintiff must state the factual basis for the fraudulent claim

with particularity, and she cannot rely on speculation or conclusory allegations. See Thompson,

125 F.3d at 903. “A dismissal for failure to plead fraud with particularity under Rule 9(b) is

treated as a dismissal for failure to state a claim under Rule 12(b)(6).” Id. at 901; Grubbs, 565

F.3d at 185 n.8.

                                            ARGUMENT

I.   THE AMENDED COMPLAINT FAILS TO SATISFY RULE 9(b)’S PLEADING
     STANDARDS AS TO ICON

        In order to survive dismissal, Relator’s two causes of action against ICON under the FCA

must comply with the heightened pleading standards of Rule 9(b). It does not do so—not even

close. For a plaintiff to adequately allege FCA claims under Rule 9(b), she must allege “as to

each individual defendant ‘the nature of the fraud, some details, [and] a brief sketch of how the

fraudulent scheme operated, when and where it occurred, and the participants.’” Hernandez v.

CIBA-GEIGY Corp. USA, 2000 WL 33187524, at *5 (S.D. Tex. 2000) (quoting Askanase v.

Fatjo, 148 F.R.D. 570, 574 (S.D. Tex. 1993)). The Fifth Circuit has emphasized that it applies

Rule 9(b) to FCA claims “with bite and without apology.” United States ex rel. Porter v.

Magnolia Health Plan, Inc., 810 Fed. Appx. 237, 240 (5th Cir. 2020). And courts in the Fifth

Circuit have also recognized that “because of the potential for relators to reap a phenomenal

windfall and the attendant risk of abuse by professional relators . . . more is required of the qui

tam relator than almost any other litigant in federal court.” United States ex rel. Ruscher v.

Omnicare, Inc., 2014 WL 2618158, at *33 (S.D. Tex. 2014), on reconsideration in part sub

nom. Ruscher v. Omnicare Inc., 2014 WL 4388726 (S.D. Tex. 2014). Relator’s claims against


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ICON, based entirely on a handful of generic and conclusory allegations and unsupported

speculation, do not even pass muster under the more liberal pleading standard of Rule 8(a)(2), let

alone the exacting standard of Rule 9(b). Accordingly, Relator’s claims against ICON must be

dismissed.

        The Amended Complaint alleges nothing of substance against ICON. ICON is treated as

a bit player throughout the Amended Complaint, and the small number of allegations of

misconduct as to ICON specifically are all generalized, conclusory, or speculative. 6 For

example, the Amended Complaint alleges that ICON “failed to follow up on missing

information, ignored ‘red flags’ of trial protocol violations and false data, and failed to exclude

ineligible participants from the trial data.” (Am. Compl. ¶ 9). But the Amended Complaint does

not offer specific details of the alleged red flags or falsified data—the necessary “who, what,

when, where, and how” of the allegations. Thompson, 125 F.3d at 903. The Amended

Complaint also bluntly asserts that Ventavia’s alleged violations “would be obvious from the

source documents” and that ICON ignored them (Am. Compl. ¶¶ 11, 169), without explaining

how the violations actually would have been “obvious.”

        Indeed, while ICON is rarely mentioned in the 29 separate exhibits filed with the

Amended Complaint, when ICON is mentioned, the exhibits reflect ICON personnel not

ignoring instances of missing information or potential violations of protocol, but actively

following up and working with Ventavia personnel to correct them. (Am. Compl. Exs. 12, 16,

19); see United States ex rel. Riley v. St. Luke’s Episcopal Hosp., 355 F.3d 370, 377 (5th Cir.




6
  The Amended Complaint’s allegations are so lacking that it is not even clear that Relator has identified
the correct ICON corporate entity to name as a defendant; instead, the Amended Complaint generically
asserts misconduct against the Irish parent company ICON plc, “an Irish company headquartered in
Dublin.” (Am. Compl. ¶ 45).

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 2004) (“If an allegation is contradicted by the contents of an exhibit attached to the pleading,

 then indeed the exhibit and not the allegation controls.”).

        Finally, at times, the Amended Complaint even veers into wild speculation, such as when

 Relator baselessly theorizes that “Pfizer and ICON’s oversight failures and fraudulent

 misconduct vis-à-vis Ventavia bring the entire Pfizer-BioNTech clinical trial into question,”

 despite only having experience at two of the Pfizer vaccine study’s 153 testing sites and with

 fewer than 1,000 of the study’s 44,000 participants. (Am. Compl. ¶ 11). Allegations like these

 are, if anything, textbook examples of the kind of pleading that Rule 9(b) expressly prohibits.

II.   THE AMENDED COMPLAINT FAILS TO STATE A CLAIM AGAINST ICON
      UNDER SECTION 3729(a)(1)(A) OF THE FALSE CLAIMS ACT

        In the Fifth Circuit, a relator must satisfy four elements to state a cause of action under

 the FCA: “(1) a false statement or fraudulent course of conduct; (2) that was made or carried out

 with the requisite scienter; (3) that was material; and (4) that caused the government to pay out

 money (i.e., that involved a claim).” United States ex rel. Spicer v. Westbrook, 751 F.3d 354,

 365 (5th Cir. 2014) (quoting United States ex rel. Longhi v. United States, 575 F.3d 458, 467

 (5th Cir. 2009)). A false or fraudulent claim is the “sine qua non” of a qui tam action, Grubbs,

 565 F.3d at 188, and to satisfy this element, a relator must identify a claim requesting money or

 property from the United States that is either factually or legally false. United States ex rel.

 Ruscher v. Omnicare, Inc., 663 Fed. App’x 368, 373 (5th Cir. 2016). Relator’s Amended

 Complaint fails to satisfy these elements.

        A. Relator Does Not Adequately Allege that Any Defendant Made a False or
           Fraudulent Claim for Payment

        Relator does not allege that ICON submitted any claim requesting payment from the

 United States, let alone a false one. At most, Relator alleges that ICON certified in Form FDA-

 1572, submitted to Pfizer and the United States, that the trial would be conducted in accordance

                                                  10
with trial protocol and FDA regulations, which was allegedly “rendered false by . . . Icon’s

violations of the clinical trial protocol, FDA regulations, and fraudulent conduct.” (Am. Compl.

¶ 277). But this is not, as is discussed further infra II.B, a claim for payment nor was it a false or

fraudulent one.

       The only claims for payment that Relator alleges are invoices submitted by Pfizer to the

government. Relator alleges that Pfizer submitted “legally false” invoices to the U.S.

Department of Defense (DoD) because they contained “express and implied false certifications”

of compliance with FDA regulations and FAR provisions. (Am. Compl. ¶¶ 274, 278). But, as is

discussed in further detail in Pfizer’s Motion, the Amended Complaint fails to plead that these

invoices contained false claims, because the government’s decision to pay was not predicated on

Pfizer’s compliance with FDA regulations and FAR provisions. See Pfizer Mot. at 20-25.

       B. Relator Does Not Show that ICON Presented, or Caused to be Presented, a False
          or Fraudulent Claim

       Even if Relator had adequately alleged that the FDA regulations and FAR provisions

applied, the Amended Complaint is nonetheless bereft of any facts to sufficiently allege that

ICON made a false or fraudulent claim.

       Section 3729(a)(1)(A) of the FCA prohibits “knowingly present[ing], or caus[ing] to be a

presented, a false or fraudulent claim for payment or approval.” 31 U.S.C. § 3729(a)(1)(a); see

also United States ex rel. Graves v. ITT Educ. Servs., Inc., 284 F. Supp. 2d 487, 495 (S.D. Tex.

2003) (noting that a key question under the FCA is “whether the defendant presented a ‘false or

fraudulent claim’ to the government.”). Other “[v]iolations of laws, rules, or regulations alone

do not create a cause of action under the FCA.” Thompson, 125 F.3d at 902. The FCA attaches

liability “not to the underlying fraudulent activity or the government’s wrongful payment, but to

the claim for payment.” Longhi, 575 F.3d at 467. A “claim” is “any request or demand, whether


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under a contract or otherwise, for money or property . . . [that] is presented to an officer

employee, or agent of the United States . . . .” 31 U.S.C. § 3729(b)(2). The “linchpin” of an

FCA claim resting on an alleged violation of a statute or regulation is a “certification of

compliance.” Spicer, 751 F.3d at 365. According to the Fifth Circuit, if “the government has

conditioned payment of a claim upon a claimant’s certification of compliance with, for example,

a statute or regulation, a claimant submits a false or fraudulent claim when he or she falsely

[expressly or impliedly] certifies compliance with that statute or regulation.” Id. (quoting United

States ex rel. Marcy v. Rowan Cos., Inc., 520 F.3d 384, 389 (5th Cir. 2008)). According to the

U.S. Supreme Court, implied false certification is when a “defendant submits a claim for

payment that makes specific representations about the goods or services provided, but knowingly

fails to disclose the defendant's noncompliance with a statutory, regulatory, or contractual

requirement…that the defendant knows is material to the Government’s payment decision.”

Universal Health Servs., Inc. v. United States, 579 U.S. 176, 181 (2016).

       Here, Relator’s sparse allegations against ICON are, if anything, suggestive only of

lawful conduct, and do not state a plausible claim that ICON submitted a false statement or

caused another Defendant to do so. At no point in Relator’s 80-page Amended Complaint or the

more than 300 pages of exhibits she appended to it does she allege that ICON presented any

claim to the U.S. government. Instead, Relator alleges that ICON certified and submitted a Form

FDA 1572. (Am. Compl. ¶ 277). But a Form 1572 is not a claim for payment, nor does Relator

even allege that it is. While the Amended Complaint alleges that the “sponsor [i.e., Pfizer] must

obtain a signed Form FDA 1572 from each contract investigator [i.e., ICON],” and “[e]ach

contract investigator also commits in Form FDA-1572 to promptly report to the IRB ‘all changes

in the research activity and all unanticipated problems involving risks to human subjects or



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others,” it does not allege that either the sponsor or the investigator must submit the form to the

FDA or that the investigator must report the “changes” or “unanticipated problems” to the FDA.

(Am. Compl. ¶ 62); see also United States ex rel. Gross v. AIDS Rsch. All.-Chicago, 415 F.3d

601, 603-04 (7th Cir. 2005) (dismissing FCA claim relating to filing of FDA Form 1572 where

complaint failed to allege that defendants “made a statement in order to receive money from the

government”). Nor does Relator allege that ICON’s certification of the form somehow caused

another Defendant to subsequently submit a false claim for payment.

       Relator instead attempts to rely merely on unspecified allegations of fraudulent conduct

by ICON, yet the FCA attaches liability “not to the underlying fraudulent activity . . . but to the

claim of payment.” Longhi, 575 F.3d at 467; see also Gross, 415 F.3d at 603-04 (“False claim

allegations must relate to actual money that was or might have been doled out by the government

based upon actual and particularly-identified false representations.”). But even if allegations of

underlying fraudulent conduct were a sufficient basis for FCA claims, Relator’s allegations fall

far short of what is required to plead any kind of fraud by ICON. Relator describes ICON as

having an oversight role over the clinical trial, and while she baselessly alleges that ICON was

negligent in its role and engaged in “oversight failures and fraudulent misconduct vis-à-vis

Ventavia” (Am. Compl. ¶¶ 11, 213, 215-16), her sparse allegations do not support this claim.

For example, Relator makes many conclusory claims that ICON in some way “turned a blind

eye” to misconduct, failed to follow up on missing information, or ignored “red flags.” (Am.

Compl. ¶¶ 6, 9, 151, 87). But there are vanishingly few actual examples of this in the Amended

Complaint, and when there are, they are pled generically and without the requisite specificity.

       As an example of one of these ignored so-called “red flags,” Relator alleges that, in

violation of trial protocol, Ventavia treated women who had undergone tubal ligation as non-



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WOCBPs (women of child-bearing potential). Relator alleges that this violation would have

been “obvious from the source documents” and ICON ignored them. (Am. Compl. ¶ 151). But

Relator does not allege why this violation would have been obvious or how ICON ignored it.

Indeed, in the referenced exhibit, this issue is flagged as a “QC [Quality Control] Finding” and

follow-up is requested. (Am. Compl. Ex. 11 at 3) (“Page 9 source ‘childbearing potential and

contraception method have been verified’ is initialed but checked no for uring preg (sic) not done

and that it’s ‘n/a.’ Please confirm which is correct- patient had tubal litigation per source.”).

This is precisely the type of oversight ICON was engaged to perform, and exactly the type of

monitoring activity that is typical of any clinical trial performed on large scale.

       Relator also suggests that ICON ignored informed consent dates that were allegedly

falsified by Ventavia and did not match dates in source documents that ICON had access to.

(Am. Compl. ¶¶ 168-69). But, as an e-mail chain attached as Exhibit 19 demonstrates, ICON did

identify these errors, properly flagged them to Ventavia, and recommended remedial actions.

(Am. Compl. ¶ 169, Ex. 19). In a parenthetical citing to this exhibit, Relator even describes

ICON as “noting informed consent date errors.” (Am. Compl. ¶ 169). Relator also alleges that

“[m]any clinical trial participants were given their second injection outside of the protocol-

mandated nineteen to twenty-three day window,” another alleged red flag that ICON supposedly

missed, even though “Ventavia never reported this violation to . . . ICON,” because “it would

have been obvious from the source documents.” (Am. Compl. ¶ 176). But Relator once again

does not state with sufficient particularity or specificity what ICON missed, why it was

“obvious,” or the identity of the source documents.

       While ICON is generally not mentioned in the 300 pages of exhibits attached to the

Amended Complaint, in the small number of documents that do reference ICON, ICON



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personnel are shown asking proper questions and providing guidance to Ventavia regarding the

clinical trial. (Am. Compl. Exs. 12, 16, 19). For example, an e-mail sent on August 14, 2020,

labeled Exhibit 16, reflects an ICON employee properly raising multiple issues for Ventavia to

review and fix, as the Amended Complaint itself concedes. (Am. Compl. ¶ 196) (“Ventavia also

failed to document improper dilution of the frozen BNT162b2 vaccine concentrate. Defendant

Icon noticed the issue and informed Ventavia”). Similarly, in a series of e-mails sent between

August 26 and September 21, labeled Exhibit 19, ICON personnel flagged issues with blood

collection documentation, including explaining the applicable protocol and FDA requirements

and suggesting revisions to Ventavia’s documentation to better collect this information. Relator

once again concedes that this Exhibit shows ICON properly doing its job. (Am. Compl. ¶ 191)

(“Icon also directly questioned missing blood collection and processing times on September 21,

2020 in an e-mail to Fisher, Downs, Relator and others.”). These exhibits if anything only make

clear the insufficiency of Relator’s claims against ICON. See Braden v. Wal-Mart Stores, Inc.,

588 F.3d 585, 597 (8th Cir. 2009) (finding that “[a]n inference pressed by the plaintiff is not

plausible if the facts he points to are precisely the result one would expect from lawful conduct

in which the defendant is known to have engaged”).

       C. Relator Does Not, and Cannot, Allege that ICON’s Certification and
          Acknowledgment of FDA Form 1572 Was Material to the Government’s
          Payment Decision

       Even if ICON’s certification and submission of Form 1572 had been a “certification of

compliance” and a claim for payment, which it was not, Relator does not allege that Form 1572

was material to the Government’s payment decision. For a statement to be material, according to

the Supreme Court, it must have “a natural tendency to influence, or be capable of influencing,

the payment or receipt of money or property.” Universal Health Servs., Inc., 579 U.S. at 182;

see also Longhi, 575 F.3d at 470 (holding that for a statement to be material it must “(1) make

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the government prone to a particular impression, thereby producing some sort of effect, or (2)

have the ability to effect the government’s actions, even if this is a result of indirect or intangible

actions on the part of the Defendants.”). As the Supreme Court has recognized, the FCA “is not

‘an all-purpose antifraud statute,’. . . or a vehicle for punishing garden-variety breaches of

contract or regulatory violations. A misrepresentation cannot be deemed material merely

because the Government designates compliance with a particular statutory, regulatory, or

contractual requirement as a condition of payment. . . . What matters is not the label the

Government attaches to a requirement, but whether the defendant knowingly violated a

requirement that the defendant knows is material to the Government's payment decision.”

Universal Health Servs., Inc., at 182. This is a “demanding standard,” id., and the Amended

Complaint fails to meet it.

        Relator alleges that ICON’s acknowledgment and certification of Form 1572 was

“rendered false” by subsequent “violations of the clinical protocol, FDA regulation, and

fraudulent conduct.” (Am. Compl. ¶ 277). Relator neglects to mention that investigators are not

required to submit the form to the FDA. 7 A form that is not even required plainly cannot be

material. Even if this form were required for payment, the Amended Complaint does not allege

that it was material to the government’s decision. In fact, the Amended Complaint does not

allege that ICON engaged in any affirmative act in the presentation of any claim to the

government, much less any false claim. As is discussed further in Pfizer’s Motion, the



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 See “Information Sheet Guidance for Sponsors, Clinical Investigators, and IRBs,” U.S. DEPARTMENT OF
HEALTH AND HUMAN SERVICES, U.S. FOOD AND DRUG ADMINISTRATION, May 2010,
https://www.fda.gov/media/78830/download (According to FDA Form 1572, FAQ 6, “Does 1572 need to
be submitted to the FDA? No. Although the sponsor is required to collect the 1572 from the investigator,
FDA does not require the form to be submitted to the agency. Many sponsors submit the 1572 to FDA,
however, because it collects, in one place, information that must be submitted to FDA under 21 CFR
312.23(a)(6)(iii)(b)”).

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  Government’s actions since becoming aware of Relator’s actions make clear that none of the

  alleged false statements, either in the Form 1572 or anything else allegedly submitted to the

  Government, were material to its decision to make payments. See Pfizer Mot. at 23-25.

III.   THE AMENDED COMPLAINT FAILS TO STATE A CLAIM AGAINST ICON
       UNDER SECTION 3729(a)(1)(B) OF THE FALSE CLAIMS ACT

         For the same reasons as above, Relator’s Count II against ICON under Section

  3729(a)(1)(B) also fails. While Section 3729(a)(1)(A) prohibits “knowingly present[ing] a false

  or fraudulent claim” to the government, Section 3729(a)(1(B) prohibits “knowingly mak[ing],

  us[ing], or caus[ing] to be made or used, a false record or statement material to a false or

  fraudulent claim…for the purpose of getting a false or fraudulent claim paid by the

  Government.” United States v. Abundant Life Therapeutic Servs. Texas, LLC, 2019 WL

  1930274, at *6, 9 (S.D. Tex. 2019) (finding that “[a] relator alleging a § 3729(a)[(1)(B)]

  violation must still show the who, what, when, where, and how of the alleged fraud under Rule

  9(b)).”). Claims under Section 3729(a)(1)(A) are commonly called “presentment” claims, while

  those under Section 3729(a)(1)(B) are commonly called “false statement claims.” Id.

  Subsection (a)(1)(B) contains a “double falsity” requirement—the relator must plead “both a

  false statement and a corresponding false claim.” United States ex rel. Silver v. Omnicare, Inc.,

  2020 WL 7022664, at *6 (D.N.J. 2020). As explained above, supra II.B, Relator does neither.

  The Amended Complaint does not adequately allege that ICON made any false statements, much

  less submitted or took part in the submission of a false claim. See also Pfizer Mot. at 25-27.

IV.    THE AMENDED COMPLAINT FAILS TO ALLEGE THAT ICON ACTED WITH
       REQUISITE KNOWLEDGE

         Even if the Amended Complaint did properly allege that ICON made false statements or

  submitted a false claim, Relator’s FCA claims against ICON would still require dismissal

  because Relator has failed to adequately allege that ICON knowingly or recklessly did so. A

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relator must adequately allege that a defendant “had (1) actual knowledge of falsity, (2) acted

with deliberate ignorance of the truth or falsity of the information provided, or (3) acted with

reckless disregard of the truth or falsity of the information provided.” 31 U.S.C. §

3729(b)(1)(A); see also United States ex rel. Patton v. Shaw Servs., L.L.C., 418 F. App’x 366,

371 (5th Cir. 2011) (“For FCA liability to attach, not only must the defendant submit false

claims, but the defendant must have ‘knowingly or recklessly’ cheated the government”).

       The Amended Complaint fails to allege any facts sufficient to establish a “knowing” or

“intentional” violation of the FCA by ICON, and therefore all claims against ICON must be

dismissed. See, e.g., Sealed Appellant I v. Sealed Appellee I, 156 F. App’x 630, 633 (5th Cir.

2005) (affirming the district court’s dismissal of plaintiff's claim because “[t]he complaint

include[d] no more than the conclusory assertions of [defendant's] knowledge and intent to file

fraudulent claims”). If anything, the Amended Complaint repeatedly suggests that ICON could

not have acted with knowledge, because the alleged violations of regulations and procedures

were hidden from ICON. Relator alleges throughout her pleadings that Ventavia was “not up

front” with or otherwise hid information from ICON about the alleged misconduct. (See, e.g.,

Am. Compl. ¶¶ 150, 157, 161, 169, 176, 178, 183-84, 196, 197, 201, 205, 241, 251 (“Ventavia

did not report all clinical trial participants’ pregnancies to Pfizer and ICON as required;”

“Ventavia did not report this issue to Pfizer or ICON;” “…should have been reported to Pfizer

and ICON;” “Ventavia likely falsified informed consent times in order to hide these protocol

deviations from Pfizer and ICON;” “Ventavia never reported this violation to Pfizer or ICON;”

“Defendant ICON noticed the issue and informed Ventavia. Ventavia falsely told ICON that the

discrepancy was due to a transcription error;” “Ventavia also failed to report all adverse events

and Serious Adverse Events (“SAEs”) to Pfizer and ICON in the clinical trial at issue;”



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“Ventavia also did not report many clinical trial protocol deviations to Pfizer and ICON.”)).

ICON could not knowingly or recklessly cheat the government if the supposed truth allegedly

being hidden from the government was also hidden from ICON.

       Relator elsewhere in her Amended Complaint makes conclusory assertions that ICON

had “constructive notice” or “constructive knowledge” of purported violations. (See, e.g., Am.

Compl. ¶¶ 169, 177, 186, 191, 197 (alleging that ICON “had access to the original source

documents in many cases, imparting constructive knowledge of informed consent time

discrepancies” and that ICON “had constructive notice of [an] issue because they had access to

clinical trial participants’ ‘electronic diary’ entries”)). But these conclusory allegations of

constructive knowledge are insufficient to establish a knowing violation of the FCA. In order to

allege constructive knowledge, Relator must show that ICON “buried [its] head in the sand” and

“failed to make simple inquiries which would alert [it] that false claims [were] being

submitted.” United States ex rel. Longhi v. Lithium Power Techs., Inc., 513 F. Supp. 2d 866,

875-76 (S.D. Tex. 2007). Only a “reasonable and prudent” inquiry is required; it is a “limited

duty to inquire as opposed to a burdensome obligation.” Id.

       Relator does not allege any specifics about ICON’s “constructive” knowledge, including

who at ICON was allegedly responsible for reviewing “source documents” or electronic diary

entries for the more than 40,000 clinical participants and comparing them to documents provided

by Ventavia. See United States ex rel. Steury v. Cardinal Health, Inc., 2011 WL 13266915, at

*5 (S.D. Tex. 2011), report and recommendation adopted, 2011 WL 13266916 (S.D. Tex. 2011)

(finding that relator had failed to plead knowledge where “she identifie[d] no Cardinal Health

employees who knew that the Signature pumps did not comply with the warranty of

merchantability”). More importantly, the exhibits to the Amended Complaint refute any



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suggestion that ICON failed to make inquiries or that it “buried its head in the sand.” See supra

Part II.B.

         Even assuming that Relator’s allegations against ICON are true for purposes of

evaluating this motion, the most they assert is that ICON made errors or mistakes in its oversight

of Ventavia, but this is far from alleging a knowing violation. Under the FCA, “a lie is

actionable but not an error.” United States, ex rel. Johnson v. Kaner Med. Grp., P.A., 641 F.

App’x 391, 394 (5th Cir. 2016) (quoting Riley, 355 F.3d at 376). “Given this definition of

‘knowingly,’ courts have found that the mismanagement—alone—of programs that receive

federal dollars is not enough to create FCA liability.” Kaner Med. Grp., 641 F. App’x at 394

(quoting United States ex rel. Farmer v. City of Hous., 523 F.3d 333, 339 (5th Cir. 2008)). A

finding of negligence or even gross negligence—which Relator again does not adequately

allege—is not sufficient “to satisfy the scienter requirement.” Smith v. Sanders, 2017 WL

4536005, at *8 (N.D. Tex. 2017), report and recommendation adopted, 2017 WL 4513573 (N.D.

Tex. 2017), aff'd sub nom. United States ex rel. Smith v. Wallace, 723 F. App’x 254 (5th Cir.

2018).

         More importantly and decisively for a qui tam case, even if Relator had adequately

alleged that ICON had knowledge of any alleged violations of trial procedures, this does not

establish that ICON had actual knowledge of any material falsity of claims made to the

government. See Steury, 2011 WL 13266915, at *5 (“[B]ecause the FCA is not a general

‘enforcement device’ for federal contracts, merely selling defective goods to the government is

not enough to create liability. Instead a plaintiff must show that a contractor actually made a

false statement to secure payment for the goods.”).




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                                         CONCLUSION

       For the foregoing reasons, in addition to those set forth in Pfizer’s Motion, ICON

respectfully requests that the Court dismiss the claims asserted against ICON in their entirety

with prejudice. ICON also requests oral argument on this motion.




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Date: June 6, 2022   Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 6, 2022, a true and correct copy of the foregoing document

was served upon all counsel of record via the Court’s CM/ECF system in accordance with this

Court’s Local Rules.



                                            /s/ Scott L. Davis
                                            Scott L. Davis




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